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February 5, 2020

The Honorable Kevin C. Gross

United States Bankruptcy Court, District of Delaware
824 North Market Street, 6th Floor

Wilmington, Delaware 19801

RE: Inre PES Holdings, LLC, Ch. 11 Case No. 19-11626 (I<G)—Confirmation Scheduling

 

Dear Judge Gross:

This firm is counsel to the Official Committee of Unsecured Creditors appointed in the above-referenced
case. Yesterday morning, we were informed that the Debtors’ confirmation hearing had been adjourned
to February 12, 2020. See Notice of Continued Hearing to Consider Confirmation of the Chapter 11 Plan
Filed By The Debtors and Related Voting and Objection Deadlines [Docket Number 888]. The
Committee was not consulted before the adjournment was requested or scheduled and, so, we were not
afforded an opportunity to provide the Court our views about the upcoming trial schedule.

The Committee is opposed to confirmation, and will file its objection by an extension deadline provided
by the Debtors (February 6, 2020). We anticipate that the hearing will involve complicated issues of fact
and law. The Committee does not have an issue with the hearing commencing on February 12th, but we
anticipate that additional trial days will be needed. Regrettably, | am not available for the hearing to
continue on consecutive days immediately thereafter: Many months ago, my family (including extended
family) scheduled an overseas trip, leaving February 13th and returning February 22nd, to coincide with
the one-week “Midwinter Recess” of New York City Public Schools. I would be most grateful if
subsequent trial days could be scheduled following my return.

In asking for this accommodation, I wish to express my sincerest apologies to the Court. I am mindful
that Your Honor did not intend to schedule hearings into 2020. This is, in fact, the only time in my
career I find myself (embarrassingly) needing to make this request.

We are at the Court’s pleasure, should discussion be necessary.

Sincerely,

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Robert J. Stark

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